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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF LOUISIANA

 LUKE BENOIT and                                      CIVIL ACTION NO.:
 SHAWN MOREAU

 VERSUS                                               JUDGE:

 QUALITY CARRIERS, INC.
 and RANDALL NEAL                                     MAGISTRATE JUDGE:

                                   NOTICE OF REMOVAL

         NOW INTO COURT, through undersigned counsel, come Defendants, Quality Carriers,

Inc. and Randall Neal (“Defendants”), which file this Notice of Removal pursuant to 28 U.S.C. §

1332 and 28 U.S.C. § 1441, and hereby remove this matter from the docket of the 16th Judicial

District Court for the Parish of St. Martin, State of Louisiana, to the docket of this Honorable

Court.

                                                 I.

         On May 16, 2022, Plaintiffs, Luke Benoit and Shawn Moreau (“Plaintiffs”), filed a

personal injury lawsuit against the Defendants in the 16th Judicial District Court for the Parish of

St. Martin, State of Louisiana, Docket Number 91655, Division “H,” entitled “Luke Benoit and

Shawn Moreau versus Quality Carriers, Inc. and Randall Neal” (See Petition for Damages

attached hereto as Exhibit “A”). The lawsuit arises from an alleged motor vehicle accident which

occurred on or about July 13, 2021 at 1404 Rees Street in the City of Breaux Bridge in St. Martin

Parish, Louisiana. (Id. at ¶ 3).

                                                II.

          Service of citation and a copy of the petition were requested on Defendant, Quality

Carriers, Inc. (“Quality”), through its registered Agent for Service of Process, Corporation Service

Company, (Id. at p. 4) on or about May 16, 2022.

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                                                III.

       Thereafter, service of citation and a copy of the petition were served on Quality’s registered

agent on May 23, 2022. (See Notice of Service attached hereto as Exhibit “B”).

                                                IV.

       Quality filed a Dilatory Exception of Vagueness, Ambiguity and Non-Conformity of

Petition on June 29, 2022 due to Plaintiffs’ failure to make the requisite allegations as to whether

their claims exceeded the amount sufficient to invoke the jurisdiction of the federal courts. (See

Dilatory Exception of Vagueness, Ambiguity and Non-Conformity of Petition attached hereto as

Exhibit “C”).

                                                V.

       Quality then filed its Answer and Affirmative Defenses on July 8, 2022. (See Answer

attached hereto as Exhibit “D”).

                                                VI.

       On August 4, 2022, Plaintiffs filed a Motion and Order for Leave of Court to File First

Supplemental and Amending Petition for Damages alleging that their causes of action exceed

$75,000 exclusive of interest and costs. (See Motion and Order For Leave of Court to File First

Supplemental and Amending Petition attached hereto as Exhibit “E” and Plaintiff’s First

Supplemental and Amending Petition attached hereto as Exhibit “F”).

                                               VII.

       The Court granted Plaintiffs’ Motion for Leave on August 4, 2022. (Exhibit “E”).



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                                                VIII.

        The Notice of Signing the Motion for Leave was signed on August 10, 2022. (Exhibit

“G”).

                                                 IX.

        Defendant, Randall Neal, was served with the Petition for Damages and First Supplemental

and Amending Petition for Damages on August 8, 2022. (See Affidavit of Service attached hereto

as Exhibit “H”).

                                                 X.

        This removal is being filed within thirty (30) days of Defendants’ receipt of the First

Supplemental and Amending Petition for Damages pursuant to 28 U.S.C. § 1446(b)(3).

   I. REMOVAL IS PROPER BECAUSE THIS COURT HAS SUBJECT MATTER
      JURISDICTION PURSUANT TO 28 U.S.C. § 1332.

                                                 XI.

        28 U.S.C. § 1332 provides federal district courts with concurrent original jurisdiction in all

civil cases “where the amount in controversy exceeds the sum or value of $75,000, exclusive of

interest and costs, and is between – (1) citizens of different States; (2) citizens of a State and

citizens or subjects of a foreign state[.]” 28 U.S.C. § 1332(a)(1)-(2).

        A.     THE AMOUNT IN CONTROVERSY EXCEEDS $75,000.00

                                                XII.

        The Fifth Circuit has explained that for purposes of establishing removal jurisdiction, a

defendant may demonstrate the amount in controversy exceeds $75,000, “in either of two ways:

(1) by demonstrating that it is ‘facially apparent’ from the petition that the claim likely exceeds

$75,000 or (2) ‘by setting forth the facts in controversy – preferably in the removal petition, but


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sometimes by affidavit – that support a finding of the requisite amount.’” Grant v. Chevron Phillips

Chemical Co., 309 F.3d 864, 868 (5th Cir. 2002) (quoting Allen v. R & H Oil & Gas Co., 63 F.3d

1326, 1335 (5th Cir. 1995)). When the original petition does not, on its face, affirmatively reveal

that the jurisdictional minimum is present, a removing defendant is not required to remove until it

receives an amended pleading or other paper that make it “unequivocally clear and certain” that

more than $75,000 is in controversy. Bosky v. Kroger Texas, L.P., 288 F.3d 208, 210-12 (5th Cir.

2002). This rule is intended to “reduce ‘protective’ removals by defendants faced with an equivocal

record” and to “discourage removals before their factual basis can be proven by a preponderance

of the evidence [.]” Id.

                                               XIII.

       Here, it is facially apparent from Plaintiffs’ First Supplemental and Amending Petition for

Damages that the amount in controversy exceeds $75,000.00, exclusive of interest and costs. To

wit, the First Supplemental and Amending Petition specifically alleges the Plaintiffs’ claims

“exceed $75,000.00, exclusive of interest and costs.” (See Exhibit “F”).

                                               XIV.

       Accordingly, Defendants show that the amount in controversy for the claims of the

Plaintiffs exceed this Honorable Court’s jurisdictional minimum of $75,000.00, exclusive of

interest and costs, for the purposes of diversity jurisdiction pursuant to 28 U.S.C. §1332.

       B.      COMPLETE DIVERSITY EXISTS

                                               XV.

       Defendant, Quality Carriers, Inc., is a foreign corporation that is incorporated in Illinois,

with its center of direction, control and coordination in Tampa, Florida. (See Exhibit “A” at ¶1).



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Thus, Quality Carriers, Inc., is domiciled in Illinois and Florida, and, therefore, under 28 U.S.C.

§1332(c), is deemed to be a citizen of Illinois and Florida.

                                                XVI.

       Defendant, Randall Neal, is a person of the full age of majority and is domiciled in

Pensacola, Florida and is a citizen of the State of Florida. (See Exhibit “A” at ¶1).

                                               XVII.

       Based on their allegations in the Petition for Damages, Plaintiffs are persons of the full age

of majority and domiciled in Lafayette Parish, Louisiana and, therefore, are citizens of the State of

Louisiana for purposes of diversity. (See Exhibit “A” at introductory paragraph).

                                               XVIII.

       There is complete diversity between Plaintiffs and the named Defendants. As of the date

of this removal, Plaintiffs have not named any other parties as Defendants.

   II. DEFENDANTS HAVE SATISFIED THE PROCEDURAL REQUIREMENTS FOR
       REMOVAL
                                XIX.

       A copy of the Motion for Leave to File First Supplemental and Amending Petition was

filed with the court on August 4, 2022. (See Exhibit “E”).

                                                XXI.

       The court granted the Motion for Leave to File First Supplemental and Amending Petition

on August 4, 2022. (See Exhibit “E”).

                                               XXII.

       Quality agreed to waive service of the First Supplemental and Amending Petition and is

therefore deemed to have been served on August 4, 2022 pursuant to the Court’s Order granting

Plaintiffs’ Motion for Leave.
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                                               XXIII.

       Defendant, Randall Neal, was served on August 8, 2022. (See Exhibit “H”).

                                               XXIV.

       This Notice of Removal was properly filed within thirty (30) days of Defendants’ receipt

of the amended pleading from which it could first be ascertained that the case is removeable. 28

U.S.C. § 1446(b)(3).

                                               XXV.

       Based upon the foregoing, this is a civil action over which this Court has original

jurisdiction pursuant to 28 U.S.C. §1332(a) and is one which may be removed to this Court by

Defendants pursuant to 28 U.S.C. §1441; this is a civil action wherein the Plaintiffs’ alleged

damages exceed the sum of $75,000.00, exclusive of interest and costs, and the Plaintiffs are

diverse from all Defendants insofar as they are citizens of different States.

                                               XXVI.

       All Defendants consent to the removal of this action.

                                              XXVII.

       In accordance with 28 U.S.C. §1446(d), Defendants will provide appropriate Notice of this

Removal to the Plaintiffs and to the Clerk of Court for the 16th Judicial District Court for the

Parish of St. Martin, State of Louisiana.

                                              XXVIII.

       No previous application has been made for the relief requested herein.

                                               XXIX.

       The Notice of Removal is signed pursuant to Rule 11 of the Federal Rules of Civil

Procedure and Uniform Local Rules of the District Courts.
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                                               XXX.

       Copies of all filings in this matter have been requested from the Clerk of Court for the 16th

Judicial District Court for the Parish of St. Martin and this Notice of Removal will be supplemented

upon receipt of same.

                                        JURY DEMAND

                                              XXXI.

       Defendants are entitled to and hereby request a trial by jury on all triable issues herein.

       WHEREFORE, Defendants, Quality Carriers, Inc. and Randall Neal, pray that the action

entitled, “Luke Benoit and Shawn Moreau versus Quality Carriers, Inc. and Randall Neal,”

bearing Docket Number 91655, Division “H” and pending in the 16th Judicial District Court for

the Parish of St. Martin, State of Louisiana, be removed from the said state court docket to the

United States District Court for the Western District of Louisiana.

                                                      Respectfully submitted,

                                                      PERRIER & LACOSTE, L.L.C.

                                                      /s/ Megan B. Jacqmin
                                                      ___________________________________
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                                                      MEGAN B. JACQMIN, #33199
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                                                      ATTORNEYS FOR DEFENDANTS




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                                CERTIFICATE OF SERVICE

         I hereby certify that the foregoing pleading has been delivered to all counsel of record,
either through the CM/ECF system, depositing a copy of same in the United States mail, first class
postage prepaid, by hand delivery or by facsimile transmission, this 26th day of August, 2022, at
their last known address of record.

                                           /s/ Megan B. Jacqmin
                                     __________________________________
                                           MEGAN B. JACQMIN




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